    JS 44 (Rev w6A.7l
                                       Case 2:18-cv-05458-NIQA Document 1 Filed 12/17/18 Page 1 of 11
         ~· (--.\!.                                                             CIVIL COVER SHEET
    The JS 44 c1v1l cover sheet and the mformauon contained herem neither replace nor supplement the filmg and service of pleadmgs or other papers as required by law except as
    provided by local rules of court Tliis form, approved by the Judicial Conference of the Uruted States m September 1974, 1s reqUlfed for the use of the Clerk of Court for the
    pwpose of Irut1atJng the CIVIi docket ~heel. (SEE INSTRUCTIONS ON NEXT PAGI;....DF THIS FORM)
    I. (a) PLAINTIFFS                                                                                              DEFEND~~TS




         (b)                                                                                                      County of Residence of First Listed Defendant                                                   '(,_PA
                                                                                                                                          (IN US PLAINTIFF CASES ONLY)
                                                                                                                   NOTE.      IN LAND CONDhMNA TION CASES, USE THE
                                                                                                                              THE TRACT or LAND INVOLVED

      (c) Attomers (Firm Name. Address. and Telephone Number)                                                      Attorneys (If Known)
    Kolman Ely, PC. 414 Hulmeville Avenue Penndel, PA 19047
    (T) 215-750-3134 / (F) 215-750-3138


                                                  N (Place an "X" tn One Box Only)                 III. CITIZENSHIP OF PRINCIPAL PARTIESrP1acean 'X"mOneBoxforPlatntiff
                                                                                                              (For Dtverszl} Cases Only)                                             and One Box/or Defendant)
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    VII. REQUESTED ~      [J CHECK IF THIS IS A CLASS ACTION                                                DEMAND$                                           CHECK YES only 1f demanded m complamt
         COMPLAINT:          t:NDER RC"LE 23, F R Cv P                                                                                                        JURY DEMAND:         lJ Yes    CJ No
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                            Case 2:18-cv-05458-NIQA Document 1 Filed 12/17/18 Page 2 of 11

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Address of Plaintiff:                                        61 Brown Drive Churchville, PA 18966
                              ------.                              - -                                  -----
Address ofDefendant: __ __                        _!__5_8_5 County Line Road Radnor, Pennsylvania 19087
Place of Accident, Incident or TransacJon:                                                                           EDPA
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RELATED CASE, IF ANY:

Case Number__

Civil cases are deemed related when Yes 1s
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                                                                      Judge       _ -·----

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2     Does this case involve the same issue df fact or grow out of the same transaction as a prior suit
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      case filed by the same individual?
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CIVIL: (Place a -.; in one category only)

A.           Federal Question Cases:                                                            B.    Diversity Jurisdiction Cases:


B~           Indemnity Contract, Manne Cont 'act, and All Other Contracts
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                                                                                                D 2 Airplane Personal Injury
B!           Jones Act-Personal ln1ury
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             Labor-Management Relations                                                         D 6 Other Personal Injury (Please specify)
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I,~                 W. Charles Sipio                            ,counselofrecordorprosepl.amtiff,doherebycert1fy

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             Case 2:18-cv-05458-NIQA Document 1 Filed 12/17/18 Page 3 of 11

                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                                       U~ µ

                                                                             CIVIL ACTION
      SHILOH


     PHILADELPHIA VASCULAR INST.                                                          5458
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ I :03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus -- Cases brought under 28 U.S.C. § 2241 through§ 2255.                            ( )
(b) Social Security- Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )
(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )
(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )
(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks.



 12/12/2018                     W Charles Sipio                      Aaron Shiloh M.D. FSIR
Date                               Attorney-at-law                      Attorney for
215-7 50-3134                   215-750-3138                         wcsipio@kolmanlaw.net

Telephone                           FAX Number                           E-Mail Address


(Civ. 660) 10/02
           Case 2:18-cv-05458-NIQA Document 1 Filed 12/17/18 Page 4 of 11
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                    IN THE UNITED STATES jjJSTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                                    AS      54 58
UNITED STA TES OF AMERICA,                         :No. - - - - - - - - -
                    ex rel.                        ; CIVIL ACTION

AARON SHILOH, M.D., FSIR                           ~ JURY TRIAL DEMANDED

                   Relator,                        ; FILED UNDER SEAL

                      v.

PHILADELPHIA VASCULAR
L~STITUTE LLC


                    -and-

JAMES MCGUCKIN, M.D.

                 Defendants.




                              FAl,SE CLAIMS ACT COMPLAINT

       The above-named Qui Tam Relator, on behalf of the United States, hereby avers as

follows:

                                     INTRODUCTION

    I. This action seeks redress for false and/or fraudulent claims made upon the United States

       and other violations of the False Claims Act, 31 U.S.C. § 3729 et seq. for Medicare

       and/or Medicaid fraud.
      Case 2:18-cv-05458-NIQA Document 1 Filed 12/17/18 Page 5 of 11




                                         PARTIES

2. The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.

3. The instant action has been filed on behalf of the United States by Qui Tam Relater

   Aaron Shiloh M.D., FSIR.

4. Relater Dr. Shiloh (hereinafter "Relater") is an adult individual and citizen of the United

   States and the Commonwealth of Pennsylvania.

5. Defendant Philadelphia Vascular Institute, LLC ("PVI") ("Defendant") is believed and

   therefore averred to be a for profit limited liability corporation that exists and operates

   pursuant to the laws of the Commonwealth of Pennsylvania with a principal place of

   business at 585 County Line Road Radnor, Pennsylvania 19087 within the Eastern

   District of Pennsylvania.

6. Defendant James McGuckin, M.D. (hereinafter "McGuckin") is believed and therefore

   averred to be an adult individual and citizen of the United States and the Commonwealth

   of Pennsylvania.

7. At all times relevant hereto, each Defendant acted by and through its agents, servants,

   and employees, each of whom, at all times relevant, acted within the scope of her or her

   job duties.

                             JURISDICTION AND VENUE

8. The averments of the foregoing paragraphs are incorporated herein as if the same were

    set forth in full.

9. The Court may properly maintain personal jurisdiction over Defendant because

    Defendant's contacts with this state and this judicial district are sufficient for the exercise

    of jurisdiction over Defendant to comply with traditional notions of fair play and


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     Case 2:18-cv-05458-NIQA Document 1 Filed 12/17/18 Page 6 of 11




   substantial justice, satisfying the standard set forth by the Supreme Court of the United

   States in International Shoe Co. v. Washington, 326 U.S. 310 (1945) and its progeny.

I 0. The Court may exercise original subject matter jurisdiction over the instant action

   pursuant to 28 U.S.C. §§ 1331 (Federal Question Jurisdiction) because it arises under the

   laws of the United States.

11. The Court may also maintain supplemental jurisdiction over any state law claims set forth

   herein or later added pursuant to 28 U.S.C. § 1367(a) and Rule 18(a) of the Federal Rules

   of Civil Procedure because they are sufficiently related to the claim(s) within the Court's

   original jurisdiction that they form part of the same case or controversy.

12. Venue is properly laid in this judicial district pursuant to 28 U.S.C. §§ 1391(b)(l) and

   1391(b)(2) because Defendant resides in and/or conducts business in this judicial district

   and because a substantial part of the acts and/or omissions giving rise to the claims set

   forth herein occurred in this judicial district.

                                FACTUAL BACKGROUND

13. The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.

14. Relator is a licensed physician and graduate of the University of Pennsylvania School of

   Medicine.

15. Relator is double board certified in radiology and interventional radiology.

16. Relator became employed by Defendant in or around January 2, 2018 after selling his

   practice to it for a sum certain.

17. The owner of PVI is Dr. James McGuckin, who apparently is no stranger to fraud

   litigation.




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     Case 2:18-cv-05458-NIQA Document 1 Filed 12/17/18 Page 7 of 11




18. The Department of Justice announced on or about October 23, 2018 that Vascular Access

   Centers ("V AC") would pay $3.825 million dollars and up to $18 million dollars to

   resolve false claims allegations.

19. Upon information and belief, Dr. McGuckin owns or holds a controlling and/or

   significant interest in VAC.

20. Defendant operates in a manner that is designed to essentially abuse the Medicare system.

21. During the course of his practice, Relator observed numerous practices advocated by Dr.

   McGuckin that were questionable.

22. For example, Relator was instructed to perform a three-level intravascular ultrasound

   image segmentation ("IVUS") in every arterial case even when medically unnecessary in

   an effort to bilk Medicare and/or Medicaid.

23. Dr. !vicGuckin commented that "IVUS is an ATM."

24. To facilitate these types of procedures, Defendant would go to wide reaching lengths,

   such as driving and giving rides to patients to VAC facilities at no cost.

25. Many patients with minimal to no clinically significant symptoms were receiving

   atherectomy, angioplasty and stent.

26. The two major codes 37227 and 37229 reimburse from Medicare at $15,000.00 and

   $10,000.00 respectively resulting in huge windfalls for Defendant.

27. Relator suggested early on to do noninvasive imaging like computed tomography

   angiography ("CTA") as a diagnostic tool to reduce the number of invasive procedures

   and Dr. McGuckin scoffed.

28. McGuckin's resistance to CTA was not motivated by medical science, but profit.

29. Upon information and belief, CTA would exclude many patients from invasive treatment

   as it would effectively report the stenosis or occlusions and often would show non-


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   hemodynamically significant disease which would preclude a highly enumerating arterial

   intervention where the degree of stenosis could be easily over estimated.

30. Upon information and belief, no patient ever received pre-procedural imaging other than

   PADnet or ultrasound.

31. Most patient cases followed a distinctive pattern.

32. The doctors would access the less "symptomatic" side and perform diagnostic imaging.

33. That would typically lead to finding anything to bring the patient back to treat in a few

   weeks.

34. The doctors would then perform the interventional procedures on the other side.

35. The doctors would perform atherectomy, angioplasty and stent often of the below the

   knee vessels as well as the superficial femoral artery ("SFA") in order to maximize

   revenue.

36. Although there were some patients with disease warranting treatment, there were also

   many asymptomatic patients treated under the pretense that doing so would "save the

   leg" from amputation.

37. The practice of treating asymptomatic patients has no basis in the peer-reviewed literature

   and is in fact medically unnecessary.

38. All Medicare and Medicaid patients would have a three-level IVUS performed on every

    case as the device was already opened at the beginning of the case.

39. In fact, Dr. McGuckin did not care if the IVUS was used before, during, or after

    intervention as long as there was documentation that it was used.

40. All patients who were treated subsequently had one month, 3-month, 6-month, 12-month

    ultrasounds in the name of "follow-up."

4 I . However, it was a clear-cut pretense to identify patients to be re-treated.


                                               5
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    42. Specific verbiage was taught to facilitate "proper billing and coding" of the arterial

       procedures, which is code for maximizing revenue.

   43. Prior to the realtor's arrival at PY!, the other doctors in the group did not have hospital
       privileges.


   44. Relator helped another physician, Dr. Watts, obtain hospital privileges which then

      allowed him to obtain health partners (Medicaid) credentialing at the 42nd and Market
      location in Philadelphia.

  45. Thus, prior to 2018, Dr. Watts was performing procedures on Medicaid patients under
     Dr. McGuckin's name in 2016 and 2017.

 46. Health partners abruptly terminated all physicians service agreements in June 2018 likely
     secondary to massive overcharging.

 47. The Relator identified and questioned why Medicare and Medicaid patients were not

     being charged any co-pays or co-insurances for procedures rendered and was told that

    they could not afford it (so they were not charged).

48. Dr. McGuckin purchased a vascular surgeon's practice in the Poconos from Dr. Boris

    Paul who in fact, upon information and belief, still listed as accepting new patients at
    Pocono Surgical Associates.

49. Dr. Paul has not worked there in many years.

50. Instead, Dr. McGuckin placed a nurse practitioner, Joe Eckstein at the office who would

    facilitate the evaluation of any new and old patients and drove all the patients to PA

   Vascular Institute for arteriograms with intervention.

51. Many of these patients had 5-1 O arteriograms a year, which was far outside any standard

   of care.




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52. When the volume of arteriograms dropped in 2018, Dr. McGuckin held many meetings to

    berate the staff and to reinvigorate the practice by facilitating the bringing back of every

    possible patient.

53. This included, but was not limited to, culling all prior charts and phone calls.

54. Moreover, upon information and belief, there are many space sharing agreements

    facilitated by Defendant and/or McGuckin with various podiatrists, internists, and

    surgeons that are clear cut ways to avoid anti-kickback violations.

                                         COUNT I
                                    FALSE CLAIMS ACT
                                     37 U.S.C. § 3729(a)
                                    Against All Defendants

55. The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.

56. Title 31 of the United States Code, Section 3729(a), provides that any person who:

       a. knowingly presents, or causes to be presented, to an officer or employee of the
          United States Government or a member of the Armed Forces of the United States
          a false or fraudulent claim for payment or approval;
       b. knowingly makes, uses or causes to be made or used, a false record or statement
          to get a false or fraudulent claim paid or approved by the Government;
       c. conspires to defraud the Government by getting a false or fraudulent claim
          allowed or paid;
       d. knowingly makes, uses or causes to be made or used, a false record or statement
          to conceal, avoid, or decrease an obligation to pay or transmit money or property
          to the Government is liable to the United States Government for a civil penalty of
          not less than $5,500.00 and not more than $11,000.00, plus 3 times the amount of
          damages which the Government sustains because of the act of that person.

57. Defendant's actions as described above constitute the making of false claims to the

    C'nited States Government and is a violation of 31 U.S.C. 3729.

58. Pursuant to 31 U.S.C. § 3729(a), any person who violates the provisions set forth supra

    must pay a civil penalty of not less than $5,500.00 and not more than $11,000, plus three

    times the amount of damages which the U.S. Government sustains as a result of

    Defendant's making of false claims as hereinabove set forth.

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       59. By its actions as aforesaid, Defendant has violated the False Claims Act, 37 U.S.C. §
           3729.




                                        PRAYER FOR RELIEF

          WHEREFORE, Relator, on behalf of the United States, respectfully requests that

 judgment be entered against Defendant in an amount equal to three (3) times the amount of all

 monies it is determined to have fraudulently received from the United States Government as a

 result of its conduct as aforesaid, civil penalties, attorneys' fees, and all other legal and equitable
 relief deemed just and proper.




                                                                              Respectfully submitted,

                                                                                KOLMAN ELY, P.C.
                                                                                 vf~-         ..
                                                                                 I W.Cllarles Sipio
                                                                        Timothy M. Kolman, Esquire
                                                                              Wayne A. Ely, Esquire
                                                                           W. Charles Sipio, Esquire
                                                                             414 Hulmeville Avenue
                                                                                 Penndel, PA 19047
                                                                (T) 215-750-3134 I (F) 215-750-3138

                                                      Attorneys for Relator, Aaron Shiloh M.D., .FSJR
Dated: December 13, 2018




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